Case 2:10-cr-00722-SRC              Document 99          Filed 09/14/11       Page 1 of 1 PageID: 383




                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY

                           UNITED STATES v. STEVIE BUCKU
                                    SB! No 9812908 DO B

                  PETITION FOR WRIT OF HAflEAS ORPUS

 1 Sff’ IE BUCKI.SE SB! ‘o 9812908 DO B                             is nov ontined at the Ess.\ Counts
 Correctional Facility. 356 Doremus Avenue, Newark, NJ 07105,
 2. This individual is a defendant in a federal case and will be required at Newark, New Jersey before the
 Hon. Stanley Chesler, on Tuesday, Sept. 20, 2011 at 10:00 a.m. for sentencing. A Writ of Habeas
 Corpus should be issued for that purpose.

 DATED: September 13. 2011                                   S:’RODNEY VILLAZOR
                                                            Rodney C. Villazor
                                                            Assistant U.S. Attorney
                                                            Petitioner 973-645-2823
                                                ORDER
 Let the Writ Issue.
 DATED          ‘ L            t/
                                                                 Stanley R. chesler
                                WRIT OF HABEAS CORPUS

 The United States of America to Warden of the Essex County Correctional Facility:
 WE COMMAND YOU that you have the body of:

                       STEVIE BUCKUSE, SBI No.: 981290B, D.O.B.:

 now confined at the Essex County Correctional Facility, on Tuesdav,Sept. 20, 2011 at 10:00 a.m. be
 brought before the United States District Court, the Hon. Stanley R, Chesler, U.S. District Judge,
 in the US. Postoffice and Federal Courthouse, 2 Federal Square, Newark, New Jersey 07102 on
 Tuesday, Sept. 20, 2011 at 10:00 a.rn. for trial in the above-captioned matter for sentencing.

                 WITNESS the Honorable Stanley R. Chesler
                 United States District Judge
                 Newark, New Jersey.


 DATED:                                            WILLIAM T. WALSH
                       I                           Clerk of the U.S. District Court
                                                             ‘




                                                   for thL DlstnLt ofNe Jersey

                                                   Per      ‘
                                                                     Deputy Clerk
